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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                                             )
In re:                                                       )
                                                             )   Chapter 11
                                                 1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                           )
                                                             )   Case No. 19-34054 (SGJ)
                          Debtor.                            )
                                                             )
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P.                            )
                                                             )
                          Plaintiff,                         )
vs.                                                          )   Adv. Pro. No. 20-03190 (SGJ)
                                                             )
JAMES D. DONDERO,                                            )
                                                             )
                          Defendant.                         )
                                                             )

                                 CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On February 5, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service lists attached
hereto as Exhibit A and Exhibit B; and via First Class Mail upon the service lists attached
hereto as Exhibit C and Exhibit D:

      •   Amended Notice of Hearing on Plaintiff’s Motion for an Order Requiring Mr.
          James Dondero to Show Cause Why He Should Not Be Held in Civil Contempt for
          Violating the TRO [Docket No. 88]

Dated: February 9, 2021
                                                /s/ Vincent Trang
                                                Vincent Trang
                                                KCC
                                                222 N Pacific Coast Highway, Suite 300
                                                El Segundo, CA 90245
1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters
and service address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX
75201.
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                                                                    Exhibit A
                                                              Core/2002 Service List
                                                             Served via Electronic Mail

             Description                        CreditorName                 CreditorNoticeName                        Email
                                                                                                     ctimmons@abernathy-law.com;
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Assessor/Collector                       Hullett, P.C.                  Emily M. Hahn                ehahn@abernathy-law.com
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Leventon (the “Senior Employees”)    Baker & Mckenzie LLP               Michelle Hartmann               michelle.hartmann@bakermckenzie.com

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                                         Cole, Schotz, Meisel, Forman
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                                         Condon Tobin Sladek
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Management LLC as Investment
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                                         Hunter Mountain Investment
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IRS                                      Internal Revenue Service      Operation                        Mimi.M.Wong@irscounsel.treas.gov



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                                                               Core/2002 Service List
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             Description                        CreditorName                 CreditorNoticeName                              Email
                                                                         Centralized Insolvency
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Secured Creditor                         Jefferies LLC                   Office of the General Counsel   cbianchi@jefferies.com
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                                     Lynn Pinker Cox & Hurst,
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                                                                     Exhibit A
                                                               Core/2002 Service List
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             Description                          CreditorName               CreditorNoticeName                        Email
Pension Benefit Guaranty Corporation      Pension Benefit Guaranty                                    baird.michael@pbgc.gov;
(“PBGC”)                                  Corporation                   Michael I. Baird              efile@pbgc.gov
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Equity Holders                            Trust                                                       gscott@myersbigel.com
                                          The Mark and Pamela Okada
                                          Family Trust - Exempt Trust
Equity Holders                            #1                                                          mokadadallas@gmail.com
                                          The Mark and Pamela Okada
                                          Family Trust - Exempt Trust
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                                          United States Attorney
United States Attorney General            General                     U.S. Department of Justice      askdoj@usdoj.gov
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Sevilla, Hunter Covitz, and Thomas
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Sevilla, Hunter Covitz, and Thomas                                      Attn: Thomas M. Melsheimer;   tmelsheimer@winston.com;
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                                                       Core/2002 Service List
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             Description                  CreditorName                CreditorNoticeName                          Email
                                                                                                bankfilings@ycst.com;
                                                                                                mnestor@ycst.com;
                                                                 Michael R. Nestor, Edmon L.    emorton@ycst.com;
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Unsecured Creditors                 Taylor, LLP                  Jaclyn C. Weissgerber, Esq.    jweissgerber@ycst.com




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                              EXHIBIT B
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                                                                 Exhibit B
                                                               Affected Party
                                                          Served via Electronic Mail

         Description                   CreditorName                   CreditorNoticeName                             Email
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                                 Bonds Ellis Eppich Schafer   D. Michael Lynn, John Y. Bonds, III,   john.wilson@bondsellis.com;
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 Committee of Unsecured
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 Financial Advisor to Official
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 Creditors                       FTI Consulting               Earnestiena Cheng                      Earnestiena.Cheng@fticonsulting.com
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 Committee of Unsecured                                       Elliot A. Bromagen, Dennis M.          ebromagen@sidley.com;
 Creditors                       Sidley Austin LLP            Twomey                                 dtwomey@sidley.com




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                              EXHIBIT C
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                                                                                                               Exhibit C
                                                                                                        Core/2002 Service List
                                                                                                       Served via First Class Mail


               Description                            CreditorName                   CreditorNoticeName                      Address1                      Address2              Address3               City      State     Zip
  Bank                                    BBVA                                   Michael Doran                   8080 North Central Expressway      Suite 1500                                     Dallas         TX    75206
                                                                                 Centralized Insolvency
  IRS                                     Internal Revenue Service               Operation                       PO Box 7346                                                                       Philadelphia   PA    19101-7346
  Secured Creditor                        KeyBank National Association           as Administrative Agent         225 Franklin Street, 18th Floor                                                   Boston         MA    02110
  Secured Creditor                        KeyBank National Association           as Agent                        127 Public Square                                                                 Cleveland      OH    44114
  Texas Attorney General                  Office of the Attorney General         Ken Paxton                      300 W. 15th Street                                                                Austin         TX    78701
                                                                                                                                                    10th & Constitution
  Attorney General of the United States   Office of the Attorney General                                         Main Justice Building, Room 5111   Avenue, N.W.                                   Washington     DC    20530
  US Attorneys Office for Northern
  District of TX                          Office of the United States Attorney   Erin Nealy Cox, Esq             1100 Commerce Street, 3rd Floor                                                   Dallas         TX    75202
                                                                                 Revenue Accounting Division-
  TX Comptroller of Public Accounts       State Comptroller of Public Accounts   Bankruptcy Section              PO Box 13258                                                                      Austin         TX    78711
  Equity Holders                          Strand Advisors, Inc.                                                  300 Crescent Court                 Suite 700                                      Dallas         TX    75201

  TX AG Office                            Texas Attorney Generals Office         Bankruptcy-Collections Division PO Box 12548                                                                      Austin         TX    78711-2548
  U.S. Department of the Treasury         US Department of the Treasury          Office of General Counsel       1500 Pennsylvania Avenue, NW                                                      Washington     DC    20220
                                                                                                                                                    Carvel State Office
  Delaware Division of Revenue            Zillah A. Frampton                     Bankruptcy Administrator        Delaware Division of Revenue       Building, 8th Floor     820 N. French Street   Wilmington     DE    19801




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                              EXHIBIT D
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                                                                         Exhibit D
                                                                      Affected Parties
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        Description              CreditorName                   CreditorNoticeName                           Address1                   City   State    Zip
                           Bonds Ellis Eppich Schafer   D. Michael Lynn, John Y. Bonds, III,
Counsel for James Dondero Jones LLP                     John T. Wilson, IV, Bryan C. Assink    420 Throckmorton Street, Suite 1000   Fort Worth TX     76102
Local Counsel For Highland
Capital Management, L.P.   Hayward PLLC                 Melissa S. Hayward                     10501 N. Central Expy, Ste. 106       Dallas    TX      75231




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